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April 13, 2018

VIA ECF FILING
Hon. Gregory H. Woods
United States District Judge
United States District Court
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 2260
New York, NY 10007

          Re:    Zayas v. 149 Eighth Ave., LLC and Chipotle Mexican Grill of Colorado, LLC
                 SDNY Docket No.: 1:18-cv-00003-GHW_______________________________

Dear Judge Woods:

          We represent Chipotle Mexican Grill of Colorado, LLC in the above captioned matter.

        The case management plan is currently due today, April 13, 2018. We write to inform the
Court that the parties have reached an agreement regarding the modifications to be made in order
to ensure the premises is compliant with the Americans with Disabilities Act. The parties are
currently finalizing the remaining terms of the resolution.
        We ask that this Court not require the parties to enter a case management plan while the
parties finalize the resolution. This request, if granted will also impact the initial case management
conference, currently scheduled to occur on April 24, 2018.
          Plaintiff and co-defendant 149 Eighth Ave., LLC join this request.
       We thank the Court for its time and consideration and are available to address any
questions the Court may have.


                                                      Respectfully submitted,

                                                      MESSNER REEVES LLP



                                                      Abigail Nitka

Cc: James Bahamonde, Richard Steer, Wayne Smith


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